

People v Galloway (2024 NY Slip Op 05647)





People v Galloway


2024 NY Slip Op 05647


Decided on November 14, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 14, 2024

Before: Kern, J.P., Kapnick, Kennedy, Higgitt, O'Neill Levy, JJ. 


Ind No. 948/05 Appeal No. 3035 Case No. 2023-04974 

[*1]The People of the State of New York, Respondent,
vAntoine Galloway, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Nicole P. Geoglis of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Jennifer Mitchell of counsel), for respondent.



Order, Supreme Court, New York County (Gilbert C. Hong, J.), entered on or about December 9, 2021, which denied defendant's CPL 440.47 motion for resentencing under the Domestic Violence Survivors Justice Act (DVSJA), unanimously affirmed.
The court correctly denied defendant's motion for resentencing under the DVSJA because defendant failed to demonstrate that he was a victim of "substantial" abuse "at the time of" the offense (Penal Law § 60.12[1][a]; see People v Williams, 198 AD3d 466, 466 [1st Dept 2021], lv denied 37 NY3d 1165 [2022]). The evidence was not sufficient to support a finding that defendant suffered "ongoing" physical and psychological abuse (see Williams, 198 AD3d at 467). Accordingly, we need not reach defendant's arguments
with respect to the other prerequisites for resentencing (see id.). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 14, 2024








